Case No. 1:12-cr-00010-MSK Document 1052 filed 01/15/15 USDC Colorado pg 1 of 2


                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Honorable Marcia S. Krieger

 Criminal Action No. 12-cr-00010-MSK

 UNITED STATES OF AMERICA,

               Plaintiff,
 v.

 1.     GEORGE H. ASKEW,
 2.     ROMELL E. BULLOCK,
 3.     GREGORY A. COLLINS,
 4.     GEORGE A. GADDY,
 5.     DELBERT J. GARDNER,
 6.     RICHARD JOHNSON,
 7.     SHEPS H. KHAMSAHU,
 8.     ERIC LUGO,
 9.     LAWRENCE T. MARTIN,
 10.    JOHNIE A. MYERS,
 11.    DARELL R. PARKER,
 12.    CALVIN R. RILEY,
 13.    COREY L. RILEY,
 14.    THOMAS A. SCHRAH, JR.,
 15.    JAMES R. SWITZER, and
 16.    CLIFFORD M. WRIGHT,

               Defendants.


       FINAL ORDER OF FORFEITURE AS TO DEFENDANT COREY L. RILEY


        THIS MATTER comes before the Court on the United States' Motion for Final Order of

 Forfeiture as to Defendant Corey L. Riley. The Court having reviewed said Motion FINDS:

        THAT the United States commenced this action pursuant to 21 U.S.C. § 853 and 18

 U.S.C. § 924(d), as set forth in the Second Superseding Indictment returned on June 5, 2012 and

 the Information filed on November 29, 2012;

        THAT a Preliminary Order of Forfeiture as to Defendant Corey L. Riley was granted by

 the Court as to the following property on October 3, 2013:

        a. Miscellaneous firearms and ammunition seized on July 14, 2011 from Corey Riley, at

 2331 Pontiac Street, Denver, Colorado; and
Case No. 1:12-cr-00010-MSK Document 1052 filed 01/15/15 USDC Colorado pg 2 of 2


        b. $16,960.00 in United States Currency seized on July 14, 2011 from Corey Riley at

 2331 Pontiac Street, Denver, Colorado;

        THAT all known interested parties were provided an opportunity to respond and that

 publication has been effected as required by 21 U.S.C. § 853(n);

        THAT no Petition for Ancillary Hearing has been filed by any petitioner, and the time for

 so doing, has expired;

        THAT it further appears there is cause to issue a forfeiture order under 21 U.S.C. § 853

 and 18 U.S.C. § 924(d).

        NOW, THEREFORE, IT IS ORDERED, DECREED, AND ADJUDGED:

        THAT judgment of forfeiture of the following shall enter in favor of the United States

 pursuant to 21 U.S.C. § 853 and 18 U.S.C. § 924(d), free from the claims of any other party:

        a. Miscellaneous firearms and ammunition seized on July 14, 2011 from Corey Riley, at

 2331 Pontiac Street, Denver, Colorado; and

        b. $16,960.00 in United States Currency seized on July 14, 2011 from Corey Riley at

 2331 Pontiac Street, Denver, Colorado;

        THAT the United States shall have full and legal title to the forfeited property, and may

 dispose of them in accordance with law.

        DATED this 15th day of January, 2015.

                                                     BY THE COURT:




                                                     Marcia S. Krieger
                                                     Chief United States District Judge
